Case 10-34059-thf      Doc       Filed 01/18/19        Entered 01/19/19 01:00:53              Page 1 of 2

                UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                            Case No.:18−33923−thf
      Toru Paul May
                                                                        Chapter: 13
                                  Debtor(s)                             Judge: Thomas H. Fulton




                                NOTICE OF HEARING
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      PLEASE TAKE NOTICE that a hearing will be held in the above−referenced case as
      listed below to consider and act upon the matters listed below and transact other
      business as may properly come before the Court:
      Notice Setting Hearing on the Debtor's Motion to Extend the Automatic Stay 12 and
      Order Extending the Automatic Stay Until the Confirmation Hearing Unless a Creditor
      Requests an Earlier Hearing, so ORDERED by /s/ Judge Fulton . ANY OBJECTION
      TO THE MOTION HEREIN SHALL BE FILED WITH THE COURT NO LATER
      THAN SEVEN DAYS PRIOR TO THE DATE OF HEARING. Hearing scheduled for
      2/11/2019 at 01:30 PM (Eastern Time) at Courtroom #2, 5th Fl. (7th St. Elevators), 601
      West Broadway, Louisville, KY 40202. cc: matrix. (Graham, S)

      PLEASE TAKE ADDITIONAL NOTICE that should a continuance of the hearing be
      necessary for good cause shown, the movant shall request the continuance in writing,
      with notice to all parties in interest, no later than seven (7) days prior to the scheduled
      hearing.



      Dated: 1/16/19
                                                              FOR THE COURT
      By: slg                                                 Elizabeth H. Parks
      Deputy Clerk                                            Clerk, U.S. Bankruptcy Court
           Case 10-34059-thf            Doc       Filed 01/18/19          Entered 01/19/19 01:00:53                Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 18-33923-thf
Toru Paul May                                                                                              Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-3                  User: sgraham                      Page 1 of 1                          Date Rcvd: Jan 16, 2019
                                      Form ID: 220                       Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 18, 2019.
db             +Toru Paul May,   8003 Broadfern Drive,    Louisville, KY 40291-2303
6426935        +Capital One Auto Financial,    P.O. Box 259407,   Plano, TX 75025-9407
6426936        +Samatha A. Nix,   Reimer Law Co.,    639 Washington Street,   Newport, KY 41071-1924
6426937        +Santander Auto Finance,   P.O. Box 1984,    Carmel, IN 46082-1984
6426938        +Shellpoint Mortgage Servicing,    P.O. Box 10826,   Greenville, SC 29603-0826

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/PDF: acg.acg.ebn@americaninfosource.com Jan 16 2019 19:24:11
                 Capital One Auto Finance, a division of Capital On,   4515 N Santa Fe Ave. Dept. APS,
                 Oklahoma City, OK 73118-7901
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 18, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 16, 2019 at the address(es) listed below:
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              Fred R. Simon   on behalf of Debtor Toru Paul May fredrun3@gmail.com,
               fredsimon09@gmail.com;simonfr68066@notify.bestcase.com
              William W. Lawrence -13   ECF@louchapter13.com, ecf.bk.westky@gmail.com
                                                                                            TOTAL: 3
